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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA

        v.

 DOUGLAS EDELMAN

 and

 DELPHINE LE DAIN,                                      Case No. 24-cr-239 (CKK)

        Defendants.


       [PROPOSED] ORDER FOR THE PSYCHOLOGICAL AND PSYCHIATRIC
             EVALUATION OF DEFENDANT DOUGLAS EDELMAN

       Based on Defendant Douglas Edelman’s motion, this Court hereby orders as follows:

       First, the Warden of the D.C. Correctional Treatment Facility (“CTF”) shall allow Dr.

Jeremy A. Blank, PsyD (California License No. PSY27148) and Dr. Charles E. Saldanha, MD

(California License No. 179250 and New York License No. 324750) access to CTF and Mr.

Edelman for the purpose of conducting psychological testing and a psychiatric interview for an

assessment of Mr. Edelman’s competency pursuant to the following conditions:

       1.     On March 22, 2025, Dr. Blank shall have nine uninterrupted hours to perform

              psychological testing on Mr. Edelman;

       2.     On March 23, 2025, Dr. Saldanha shall have seven uninterrupted hours to perform

              a psychiatric interview on Mr. Edelman;

       3.     Both Dr. Blank and Dr. Saldanha shall be provided a private, quiet space with two

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               chairs and a table, in which Dr. Blank and Dr. Saldanha will be able to perform

               their respective analyses on Mr. Edelman;

       4.      Both Dr. Blank and Dr. Saldanha shall be permitted to bring their laptops and

               tablets into CTF;

       5.      Both Dr. Blank and Dr. Saldanha shall be permitted to bring their cellular phones

               into CTF to use them as hotspots, for internet access required to perform their

               respective analyses;

       6.      Both Dr. Blank and Dr. Saldanha shall be permitted to have writing utensils and

               paper, printed psychiatric exams, printed psychological exams, booklets, cards,

               rubber bands, paper clips, motor functioning tests, a stopwatch, lunch, and a drink;

               and

       7.      On both March 22 and 23, 2025, Mr. Edelman shall be allowed to eat lunch during

               the course of the analyses.

       Second, the D.C. Department of Corrections shall provide copies of Mr. Edelman’s

medical records to Drs. Blank and Saldanha for the purpose of conducting the psychological and

psychiatric assessment of Defendant.

       Third, the report of Drs. Blank and Saldanha must be filed with this Court by April 3,

2025. And the status hearing is continued until April 4, 2025.


SO ORDERED this _____ day of March 2025


                              ___________________________________________________
                              THE HONORABLE JUDGE COLLEEN KOLLAR-KOTELLY




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